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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 JAMES L. TODD,                                 )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )        Case No. 3:2024-cv-2682-DWD
                                                )
 KEIRSTON et. al.                               )
                                                )
                Defendants.                     )

                                           APPEARANCE

 To the Clerk of this court and all parties of record:

        Enter my appearance as lead counsel in this case for:

    LEE KERSTEN (misspelled in complaint as KEIRSTON) and WALTER SIMMONS

        I certify that I am admitted to practice in this court.


 Date: March 24, 2025

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